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O AO 456 (Rev. 5/85) Notice



                                    UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF ARKANSAS



                       Melanie Bright                              NOTICE
                              V.
               Sherwood Nursing and Rehab
                                                                   CASE NUMBER: 4:17-cv-00832-JMR


TYPE OF CASE:
                                   X CIVIL                CRIMINAL

X TAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth below:
PLACE                                                         ROOM NO.
Richard Sheppard Arnold United States Courthouse              4B
500 W Capitol Avenue                                          DATE AND TIME
Little Rock AR 72201                                          June 17, 2020 at 9:30 a.m.
TYPE OF PROCEEDING

Settlement conference before the U.S. Magistrate Judge Jerome T. Kearney.
Counsel are reminded to have a party present with full authority to settle. Pursuant to General Order 54, counsel are
allowed to bring electronic devices to the courthouse for this proceeding, please show this notice to the court security
officers on duty.


G TAKE NOTICE that a proceeding in this case has been continued as indicated below:
PLACE                              DATE AND TIME PREVIOUSLY   CONTINUED TO DATE
                                   SCHEDULED                  AND TIME




                                                              JAMES W. McCORMACK, CLERK
                                                              U.S. MAGISTRATE JUDGE OR CLERK OF COURT


May 28, 2020                                                  /s/ LaShawn M. Coleman
                                                              (BY) DEPUTY CLERK
TO:      Defendant’s Attorney
         Melanie Bright
